                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

UNITED STATES OF AMERICA,

                       Plaintiff,

               v.                                                  Case No. 19-CR-57

CHRISTOPHER D. BANIA,

                  Defendant.
______________________________________________________________________________

                   PRELIMINARY ORDER OF FORFEITURE
______________________________________________________________________________

       Upon consideration of the United States’ motion for entry of a preliminary order of

forfeiture under Rule 32.2 of the Federal Rules of Criminal Procedure; Defendant Christopher D.

Bania’s entry of a guilty plea to Count One of the Indictment; and the terms of Defendant

Christopher D. Bania’s plea agreement,

       IT IS HEREBY ORDERED that the United States’ motion for entry of a preliminary

order of forfeiture be, and hereby is, GRANTED.

       IT IS FURTHER ORDERED that, under 21 U.S.C. § 853 the following items, be, and

hereby are, preliminarily forfeited to the United States:

               a.      Approximately $6,099.44 of the approximately $26,726.11 in United

                       States currency seized from the defendant’s Associated Bank checking

                       account ending in digits 0861; and

               b.      Approximately 16.91880054 Bitcoin seized from Bania’s “Local Bitcoins”

                       account.




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       IT IS FURTHER ORDERED that the above-referenced items shall be seized by the United

States Marshal Service for the Eastern District of Wisconsin, or it’s duly authorized representative.

       IT IS FURTHER ORDERED that pursuant to Title 21, United States Code,

Section 853(n)(1) the United States shall publish notice of this order and of its intent to dispose

of the above-referenced items according to law.

       IT IS FURTHER ORDERED that the following items, be, and hereby are, DISMISSED

from the Bill of Particulars for the reason set forth in the government’s motion:

               a.      Approximately $50,332 in United States currency seized from the
                       residence located at 4XXX Frobisher Fields, Hobart, Wisconsin;

               b.      Approximately 0.66224525 Bitcoin seized from Bania’s “Electrum”
                       virtual currency wallet;

               c.      Approximately 14.59638483 Bitcoin seized from Bania’s other
                       “Electrum” virtual currency wallet;

               d.      Approximately 0.98847108 Bitcoin seized from Bania’s “CoPay” virtual
                       currency wallet;

               e.      Approximately 104.34765685 Bitcoin seized from Bania’s “Blockchain”
                       virtual currency wallet;

               f.      Approximately 0.24130732 Bitcoin seized from Bania’s “Coinbase”
                       Account;

               g.      Approximately 4.09988953 Bitcoin seized from Bania’s “Coinbase”
                       Account;

               h.      Approximately 4.5 Ethereum seized from Bania’s “Coinbase” Account;

               i.      Approximately 3421.989943 U.S. Dollar Coin (cryptocurrency) seized
                       from Bania’s “Coinbase” Account;

               j.      Approximately 31,629.71915 U.S. Dollar Coin (cryptocurrency) seized
                       from Bania’s “Coinbase” Account;



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              k.     Approximately $10,143.42 in United States currency seized from Bania’s
                     “Coinbase” Account;

              l.     Approximately $18,592.71 in United States currency seized from Bania’s
                     “Circle.com” Account;

              m.     Approximately 78.49723380 Bitcoin Cash seized from Bania’s
                     “Blockchain” virtual currency wallet; and

              n.     Approximately $305.38 in United States currency seized from Bania’s
                     Associated Bank savings account ending in digits 8637.

       IT IS FURTHER ORDERED that the United States shall return $20,626.67 of the

approximately $26,726.11 in United States currency seized from the defendant’s Associated

Bank checking account ending in digits 0861

       IT IS FURTHER ORDERED that the terms of this Order shall be recounted in the

Defendant’s Judgment and Commitment Order.

       Dated at Green Bay, Wisconsin, this 19th day of October, 2019.



                                                  s/ William C. Griesbach
                                                  WILLIAM C. GRIESBACH, Chief Judge
                                                  United States District Court - WIED




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